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                                           6                              IN THE UNITED STATES DISTRICT COURT
                                           7
                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                               EDGAR W. TUTTLE, ERIC BRAUN, THE
                                          10   BRAUN FAMILY TRUST, and WENDY
                                               MEG SIEGEL, on behalf of themselves and
For the Northern District of California




                                          11   all others similarly situated,
    United States District Court




                                          12                  Plaintiffs,
                                                                                                    No. C 10-03588 WHA
                                          13     v.
                                          14   SKY BELL ASSET MANAGEMENT, LLC,                      ORDER DENYING AUDITOR
                                               et al.,                                              DEFENDANTS’ MOTION TO DISMISS
                                          15                                                        AND HOLDING IN ABEYANCE ERNST
                                                              Defendants.                           & YOUNG’S MOTION TO DISMISS
                                          16                                                  /
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                                                      A recent order holding in abeyance the auditor defendants’ second set of motions to
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                                               dismiss granted plaintiffs leave to file a third amended complaint, so that plaintiffs could, if they
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                                               could do so in good faith, submit a revised pleading meeting the following requirements
                                          20
                                               specific to our context:
                                          21
                                                      In the course of an audit, an auditing firm would ordinarily read and even copy
                                          22          the limited partnership agreement into its work papers and would know that the
                                                      limited partners are to receive the audit report. In turn, if the engagement
                                          23          agreement between the limited partnership and the auditor was made with this
                                                      distribution in mind, then it can be fairly alleged that the limited partners were
                                          24          intended third-party beneficiaries of the engagement agreement, at least barring
                                                      any issue of disclaimers of such intent in the engagement agreement itself.
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                                               This order finds that plaintiffs have now met this standard via their third amended complaint.
                                          26
                                               The complaint states, among other things, that “the engagement letters were made with the
                                          27
                                               specific intent that the audit reports were [to] be distributed to the Limited Partners.” After
                                          28
                                               quoting portions of the limited partnership agreements and the auditor engagement letters and
                                               further description of the relationship between the funds, auditors, and limited partner plaintiffs,
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                                           1   the complaint states: “The engagement letters reflect an understanding and agreement that the
                                           2   audit reports would be sent to the Limited Partners. The Auditors Defendants understood and
                                           3   agreed that their audit reports would be sent to the Limited Partners” (Compl. ¶ 113). In this
                                           4   way, plaintiffs have stated direct claims against the auditor defendants as third-party
                                           5   beneficiaries of the auditor defendants’ agreements with the funds at issue. The claims are
                                           6   independent of alleged harm to the funds themselves; plaintiffs thus have standing at this stage.
                                           7   Lastly, the complaint withstands the auditor defendants’ other challenges to plaintiffs’ claims
                                           8   regarding causation, pleading aiding and abetting breaches of fiduciary duty, and unjust
                                           9   enrichment and accounting.
                                          10          As authorized previously, Ernst & Young’s joinder to the other two auditor defendants’
For the Northern District of California




                                          11   motion to dismiss (Dkt. Nos. 126 and 133) is GRANTED. For the foregoing reasons, the motion
    United States District Court




                                          12   to dismiss by defendants Rothstein Kass & Company, P.C., McGladrey & Pullen, LLP, and
                                          13   joined by Ernst & Young LLC (Dkt. No. 128) is DENIED.
                                          14                                         *            *           *
                                          15          In addition, Ernst & Young LLC separately moves to dismiss on other grounds. Ernst &
                                          16   Young appeared later than the other two auditor defendants, and moves to dismiss the claims
                                          17   against it for failure to effect proper service and for lack of personal jurisdiction.
                                          18          Both grounds for Ernst & Young’s motion — service and personal jurisdiction — relate
                                          19   to its proffer that plaintiffs are only suing the Ernst & Young Isle of Man entity, which is
                                          20   assertedly one among many separate legal entities that are members of the “Ernst & Young
                                          21   Global” umbrella. Ernst & Young is named as a defendant because of its role as the auditor of
                                          22   the Eden Rock fund.
                                          23          Ernst & Young argues that the Isle of Man entity is the only operative entity in our fact
                                          24   scenario, and that plaintiffs never served that entity, though they may have served other Ernst &
                                          25   Young Global entities, nor does personal jurisdiction exist over the Isle of Man entity. Plaintiffs
                                          26   argue that they served defendant Ernst & Young LLC through their points of contact with Ernst
                                          27   & Young in New York and London, and that personal jurisdiction exists given that Eden Rock’s
                                          28   initial disclosures stated that an Ernst & Young point of contact could be found at a specified


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                                           1   address in Los Angeles (Giblin Decl. Exh. K ¶ 2). Regarding the initial-disclosures point, Ernst
                                           2   & Young responds that this point of contact information has since been “corrected” by Eden
                                           3   Rock (McGuire Decl. Exh. A ¶ 2).
                                           4          Plaintiffs assert that, at the least, they “should be permitted discovery to test the accuracy
                                           5   of E&Y’s representations as to its multifarious legal components” (Opp. 6 n.5). Ernst & Young
                                           6   counters that “plaintiffs have offered no facts creating a factual dispute about Ernst & Young
                                           7   LLC’s status as a separate entity” (Reply 3 n.1). Not so. Although the correspondence put in by
                                           8   the Giblin Declaration does not necessarily show that service was effectuated through non-Isle of
                                           9   Man E&Y entities, it does raise concerns about whether the Isle of Man entity was really the
                                          10   only part of Ernst & Young Global involved here (see, e.g., Exh. G (London E&Y asking for
For the Northern District of California




                                          11   formal service, seemingly on behalf of E&Y generally)). The “correction” by Eden Rock —
    United States District Court




                                          12   replacing a Los Angeles E&Y contact with an Isle of Man E&Y contact — raises further
                                          13   questions about whether the Isle of Man entity was really the only E&Y Global entity involved.
                                          14          Based on this record, this order finds that jurisdictional discovery as to defendant Ernst &
                                          15   Young LLC is warranted. This affects not only the personal jurisdiction challenge but also the
                                          16   service challenge, as whether service was proper depends in part on how the claims in this matter
                                          17   circumscribe the various Ernst & Young entities. Ernst & Young’s motion to dismiss on this
                                          18   basis (Dkt. No. 136) is therefore HELD IN ABEYANCE during such discovery, which will proceed
                                          19   alongside fact discovery. On AUGUST 11, 2011, both sides may file supplemental submissions
                                          20   concerning the matters that are being held in abeyance by this order (this will be alongside the
                                          21   further submissions concerning jurisdictional discovery as to the fund defendants). Each side’s
                                          22   submission is limited to 15 pages (not counting exhibits). The submissions should be limited to
                                          23   what has been unearthed via discovery. In the interim discovery should be fully proceeding on
                                          24   the merits.
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                                                      IT IS SO ORDERED.
                                          26
                                          27   Dated: June 16, 2011.
                                                                                                       WILLIAM ALSUP
                                          28                                                           UNITED STATES DISTRICT JUDGE

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